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                             UNITED STATES DISTRICT COU
                               DISTRICT OF CONNECTICUT
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                                     GRAND JURY N-16-3 Z0/8 tMY _
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 UNITED STATES OF AMERICA                                . IMlliJ lJ        . . ·, 't    ~~     I • >    (   )


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                 v.
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 YEHUDI MANZANO                                        18 U.S.C. § 2251(a)
                                                       (Production of Child Pornography)

                                                       18 U.S.C. § 2252A(a)(l)
                                                       (Transportation of Child Pornography)

                                                       18 U.S.C. § 2253
                                                       (Forfeiture)


                                         INDICTMENT

       The Grand Jury charges:

                                  GENERAL ALLEGATIONS

       At all times relevant to this Indictment, unless otherwise specified:

       1.      The defendant YEHUDI MANZANO ("MANZANO") resided in Connecticut. He

was approximately thirty-one years old in August 2016.

       2.      Minor Victim ("MV"), whose identity is known to the Grand Jury, is a female who

resided in Connecticut. She was approximately fifteen years old in August 2016.

       3.      On or about August 21, 2016, MANZANO sexually assaulted MV in Connecticut

and video recorded the assault with his cell phone. After creating the video of the sexual assault,

MANZANO uploaded the video to his Google account yeh************@gmail.com. The full

Google account name is known to the Grand Jury.




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                                              COUNT ONE
                                    (Production of Child Pornography)

       4.          The allegations set forth in paragraphs 1-3 are repeated andre-alleged as if set forth

fully herein.

       5.          On or about August 21, 2016, the exact date being unknown, in the District of

Connecticut, MANZANO did employ, use, persuade, induce, entice, and coerce a minor, MV, to

engage in sexually explicit conduct for the purpose of producing a visual depiction of such conduct,

specifically a video file titled "20 160821_022439 .mp4," knowing and having reason to know that:

such visual depiction would be transported and transmitted using any means and facility of

interstate and foreign commerce and in and affecting interstate and foreign commerce; and such

visual depiction was produced and transmitted using materials that had been mailed, shipped, and

transported in and affecting interstate and foreign commerce by any means, including by computer;

and such visual depiction was transported and transmitted using any means and facility of interstate

and foreign commerce and in and affecting interstate and foreign commerce.

        In violation of Title 18, United States Code, Section 2251 (a).

                                             COUNT TWO
                                  (Transportation of Child Pornography)

       6.          The allegations set forth in paragraphs 1-3 are repeated andre-alleged as if set forth

fully herein.

       7.          On or about August 21, 20 16, the exact date being unknown, in the District of

Connecticut and elsewhere, MANZANO did knowingly transport child pornography, as defined

m   Title    18,     United    States   Code,    Section   2256(8),    namely    a   video   file   titled

"20160821_022439.mp4," using any means and facility of interstate and foreign commerce, and

in and affecting interstate and foreign commerce by any means, including by computer.



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        In violation of Title 18, United States Code, Section 2252A(a)(1 ).

                                   FORFEITURE ALLEGATION

       8.       Upon conviction of one or more of the offenses alleged this Indictment, the

MANZANO shall forfeit to the United States, pursuant to Title 18, United States Code, Section

2253(a), all right, title, and interest in any property used or intended to be used to commit or

promote the commission of the offense, all property constituting or traceable to gross profits or

other proceeds obtained from the offense, and all visual depictions described in Title 18, United

States Code, Sections 2251-2252, and any book, magazine, periodical, film, videotape, or other

matter containing any such visual depiction, which was produced, transported, mailed, shipped, or

received in committing the offense, including, but not limited to, the following:

                a. a black Samsung Galaxy phone bearing serial number R28G62WJY1F; and

                b. Google account yeh************@gmail.com.

       9.       If any of the above-described forfeitable property, as a result of any act or omission

of the defendant, cannot be located upon the exercise of due diligence, has been transferred, sold

to, or deposited with a third party, has been placed beyond the jurisdiction of the court, has been

substantially diminished in value, or has been commingled with other property which cannot be

divided without difficulty, it is the intent of the United States, pursuant to Title 21, United States

Code, Section 853(p), as incorporated by Title 18, United States Code, Section 2253(b), to seek

forfeiture of any other property of the defendant up to the value of the forfeitable property

described above.




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       All in accordance with Title 18, United States Code, Section 2253, Title 21, United States

Code, Section 853, and Rule 32.2(a), Federal Rules of Criminal Procedure.


                                                    A TRUE BILL

                                                          /S/
                                                    FOREPERSON


UNITED STATES OF AMERICA




NEERAJ N. PATEL
ASSISTANT UNITED STATES ATTORNEY




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